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MSSB-LR-3007-1 (12/17)



                             UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI

         JESSIE BENARD
 IN RE: _____________________________________                 CASE NO. ________________
                                                                         19-01861-NPO
        _____________________________________

                       DEBTOR 6 .                             CHAPTER ____
                                                                       13


                               NOTICE OF OBJECTION TO CLAIM

    You are hereby notified that an objection to your claim has been filed in the above-

referenced bankruptcy case. Your claim may be reduced, modified, or eliminated. If you do not

want the Court to eliminate or change your claim, a written response to the attached objection to

claim must be filed with the Clerk of Court at:

        Dan M. Russell, Jr. US Courthouse, 2012 15th St., Ste. 244, Gulfport, MS 39501
        _________________________________________________________BB___________

and a copy must be served on the undersigned Debtor(s)’ attorney and the case trustee on or

before thirty (30) days from the date of this notice. In the event a written response is filed, the

court will notify you of the date, time, and place of the hearing thereon.


/s/Robert Rex McRaney, Jr.
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           Dated:      07/19/2019
Signature of Attorney                                                  MM/DD/YYYY

PO Drawer 1397
______________________________
Address Line 1

______________________________
Address Line 2
Clinton, MS 39060
______________________________
City, State, and Zip Code
601-924-5961
________________               2808
                               _________
Telephone Number               MS Bar Number

______________________________
Email Address
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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


 IN THE MATTER OF:                                                          CHAPTER 13 NO:

 JESSIE BENARD                                                                    19-01861-NPO



                   OBJECTION TO PROOF OF CLAIM FILED BY IRS

       COMES NOW Debtor, by and through counsel, and files this Objection to the Proof of
Claim filed by IRS (Clm#2), and in support thereof states as follows:
       1.      Debtor filed a petition for relief under chapter 13 of the Bankruptcy Code on May
17, 2019.
       2.      On June 24, 2019, IRS filed its proof of claim (Clm#2) in the amount of
$255,006.34.   Said claim indicated a pending examination of the 2018 tax returns. The claim
included a priority amount of $5,026.37.00 for the 2018 tax year.
       3.      Debtor objects to the priority amount of claim filed by the IRS.
       4.      Debtor requests entry of an order disallowing the claim filed by the IRS.
       WHEREFORE, PREMISES CONSIDERED, Debtor prays that this Court will enter its
order sustaining Debtor’s objection and for such other relief to which Debtor may be entitled.
       Dated: July 19, 2019
                                             Respectfully submitted,
                                             Jesse Benard

                                          By:/s/ Robert Rex McRaney, Jr.
                                            Robert Rex McRaney, Jr.


Prepared by:
Robert Rex McRaney
McRANEY & McRANEY
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Clinton, Mississippi 39060
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Mississippi State Bar No. 2808
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Debtor, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Trustee, the United States
Trustee, and other parties in interest, if any, as identified below.

Chapter 13 Trustee
Harold J. Barkley, Jr.

United States Trustee

Department of the Treasury
Internal Revenue Service
P.O. Box 7346
Philadelphia PA 19101-7346

IRS
C/O U.S. Attorney
501 East Court St.
Suite 4.430
Jackson MS 39201


Dated: July 19, 2019

                                              /s/ Robert Rex McRaney, Jr.
                                              Robert Rex McRaney, Jr.
Robert Rex McRaney, Jr.
McRANEY & McRANEY
Attorneys at Law
503 Springridge Road
Post Office Drawer 1397
Clinton, Mississippi 39060
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Mississippi State Bar No. 2808
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                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


 IN THE MATTER OF:                                                         CHAPTER 13 NO:

 JESSIE BENARD                                                                  19-01861-NPO


      ORDER SUSTAINING OBJECTION TO PROOF OF CLAIM FILED BY IRS

       THIS MATTER came before the Court on Debtor’s Objection to the Proof of Claim filed
by IRS (Dkt#     ). No response was filed to the motion and the Court finds it to be well taken.
       IT IS THEREFORE ORDERED that on Debtor’s Objection shall be and is hereby
sustained.
       IT IS FURTHER ORDERED that the claim of the IRS shall be and is hereby disallowed.
                                    ##END OF ORDER##

SUBMITTED BY:
/s/Robert Rex McRaney, Jr.
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503 Springridge Road
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